
*1133OPINION.
Milliken :
The only issue raised by this proceeding resolves itself
into one of fact, i. e., What was the fair market price or value of the property in question on February 15, 1918? The respondent determined a fair market value for the date in question of $178 per acre. We are not informed concerning the data or information which served as a predicate for such a valuation. Petitioner called as witnesses persons who had dealt very extensively in real estate in Charleston and vicinity during the years involved in this proceeding. The local conditions affecting the value of real estate in 1918 and 1922 have been clearly and convincingly presented to us. We have set forth in our findings of fact the inflated values of real estate in 1918 and the deflated values in 1922, the causes and the *1134results therefor. The valuation for which petitioner contends is not based solely upon a theoretical basis to be deduced from war or postwar conditions, but is also supported by recourse to actual sales of similar and adjacent property. The evidence permits of no other conclusion than that the property sold in 1922 had a fair market price or value of at least $118,114.96 on February 15, 1918.
Judgment will be entered on 15 days' notice, wnder Rule 50.
